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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )              ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


            Pursuant to the memorandum opinion entered herein this

date,

            IT IS ORDERED that defendant Christopher Scott’s motion

for reconsideration under Federal Rule of Civil Procedure 59(e)

(Filing No. 1229) is denied.

            DATED this 4th day of April, 2013.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
